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DECLARATION OF MELVIN DUNSWORTH

I, Melvin Dunsworth make this Declaration under penalty of perjury.

1. I have known David Harbour since about 2006-07.

2 On December 6, 2021, I flew to Phoenix Arizona to meet with Bart Shea and David
Harbour at Shea-Connelly Development, LLC, (“SCD”) for the purpose of discussing Bart
Shea’s Senior Housing Projects (“Projects”) and my possible involvement in those

Projects.

3. The three of us met throughout the business day on December 6, 2021 concerning
the Projects.

4. . Twas driven by David Harbour to his home after the end of the business day and
stayed with them overnight as a guest in the home in which they were residing.

5. On. Tuesday, December 7, 2021, the three of us, myself, David Harbour and Bart
Shea spent another entire day together at SCD. Joining us in the meetings during the day
were Mike Duffy and Jay “Corky” Northrup.

6. At the end of the business day on December 7“, David Harbour and I drove in his
truck to Oreganos to pick-up pizza, wings, and salad.

7. While we were in the Oregano’s parking lot, ready to drive to the Harbour residence,
Kenny Boborow, who I know, called David Harbour. I heard Kenny say that he had talked
to “Mark.” I then heard David Harbour say, “Kenny stop, I don’t want to hear it. Call
Alan, I am not involved,” or words to that effect. I heard Kenny Boborow say that he would

called Aian.
8. We then drove to the Harbour residence.

9. Until Abby Harbour and the Harbour children returned home, David and I watched
Blacklist.

10. [ stayed over at the Harbour residence on Wednesday night and left Thursday.
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11. understand that Vickie Boborow has stated that David Harbour was at her home
on either December 2 or December 7, 2021. I have no information concerning December
2, 2021 but I know that he was not there on December 7, 2021 because of the facts related

Wphete flu.

Mel¥in Dunsworth

above.

January 17, 2022
